      Case 3:19-cv-00006-HTW-LRA Document 39 Filed 09/01/20 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                            NORTHERN DIVISION


 OSCAR STILLEY                                                                 PLAINTIFF

 v.                                                      CASE NO. 3:19cv6‐HTW‐LRA

 WARDEN RIVERS, ET AL.                                                    DEFENDANTS



         DEFENDANTS’ RESPONSE TO PLAINTIFF’S MOTION FOR TIME




       Defendants Warden Christopher Rivers, Director J. F. Caraway, Director J. A.

Keller, Federal Bureau of Prisons, the United States of America, U.S. Attorney General

William Barr, former complex warden David Paul, and Director Kathleen Hawk Sawyer

(hereinafter “Defendants”) submit this response to Plaintiff’s Motion to Extend Time to

Object to Report and Recommendation. See Dkt. No. 38. For the reasons stated below,

Plaintiff’s motion should be denied in part.

                                      I. BACKGROUND

       On August 21, 2020, the magistrate court recommended dismissing Plaintiff’s

complaint in its entirety because he failed to exhaust any of his claims administratively.

See Dkt. No. 37. Plaintiff has fourteen days to file his objections, if any, to the magistrate

judge’s report and recommendations. See id. at 20‐21.



                                           ‐ 1 of 3 ‐
      Case 3:19-cv-00006-HTW-LRA Document 39 Filed 09/01/20 Page 2 of 4




       Plaintiff seeks more time to file his objections. See Dkt. No. 38. Specifically, he

asks for an additional 60 days. See id. at 2. In support of his motion, Plaintiff states that

he will enter home confinement tomorrow, September 2, 2020, and he will need “some

time” to prepare his objections after he is settled in home confinement. See id.

                                      II. DISCUSSION

       Defendants do not object to Plaintiff receiving appropriate time to prepare his

objections, but they object to him receiving an additional 60 days given that he will

enter home confinement tomorrow. Based on the facts in Plaintiff’s motion, Defendants

suggest a more appropriate deadline, such as September 21, 2020. That will provide

Plaintiff more than 14 days after he enters home confinement to file his objections,

which should provide sufficient time to prepare a response to the specific facts and

legal conclusions in the magistrate court’s report and recommendation.

                                     III. CONCLUSION

       Plaintiff’s motion for time should be denied in part. Defendants ask that Plaintiff

be required to file is objections on or before September 21, 2020.

                                           Respectfully submitted,

                                           D. MICHAEL HURST, JR.
                                           United States Attorney for the
                                           Southern District of Mississippi

                                             /s/   Jennifer Case
                                           JENNIFER CASE
                                           Mississippi Bar Number 104238


                                           ‐ 2 of 3 ‐
     Case 3:19-cv-00006-HTW-LRA Document 39 Filed 09/01/20 Page 3 of 4




                                  Assistant United States Attorney
                                  501 E. Court Street, Suite 4.430
                                  Jackson, Mississippi 39201
Dated: September 1, 2020          (601) 965‐4480




                                  ‐ 3 of 3 ‐
      Case 3:19-cv-00006-HTW-LRA Document 39 Filed 09/01/20 Page 4 of 4




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this day, I electronically filed the foregoing with the Clerk

of the Court using the Electronic Case Filing system (ECF). I certify that a true copy of

the foregoing has been mailed via United States Mail, postage prepaid, to the pro se

plaintiff as follows:

       Pro Se Plaintiff
       Oscar Stilley
       Fed. Reg. No. 10579‐062
       FCC Yazoo City Camp
       P. O. Box 5000
       Yazoo City, MS 39194

Dated: September 1, 2020

                                            /s/   Jennifer Case
                                          JENNIFER CASE
                                          Assistant United States Attorney




                                          ‐ 1 of 1 ‐
